          Case 3:14-cr-00282-SI          Document 79        Filed 11/04/15      Page 1 of 30




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                                UNITED STATES DISTRICT COURT

                                       DISTRICT OF OREGON

UNITED STATES OF AMERICA,                       )      CASE NO. 3:14-CR-00282-KI-1
           Plaintiff,                           )
                                                )      DEFENDANT’S SENTENCING
        vs.                                     )      MEMORANDUM
                                                )
TUNG WING HO,                                   )
          Defendant.                            )

        This matter is pending for imposition of sentence on November 10, 2015. The purpose of

this pleading is to summarize the reasons we intend to present in favor of imposing a sentence of

no jail time, consistent with the considerations in 18 U.S.C. § 3553(a).

A.      INTRODUCTION

        Mr. Ho was charged by Indictment and pleaded guilty to a single count of the crime of

Conspiracy to Transport, Receive, and Sell Stolen Goods . He remains out of custody on this matter,

and awaits imposition of sentence.

B.      ADVISORY SENTENCING GUIDELINES BASE CALCULATIONS

        We do not dispute the benchmark advisory Sentencing Guidelines calculations which are

reflected in the Pre-Sentence Report. Indeed, the advisory Sentencing Guidelines do reference a

Base Offense Level of 6. See U.S. SENTENCING GUIDELINES MANUAL §§ 2X1.1, 2B1.1(a)(2).

There is no dispute that a 14-level increase applies, as the amount of loss was greater than

$550,000 but less than $1,500,000. See id. at § 2B1.1(b)(1)(H). Further, there is no dispute that a


DEFENDANT’S SENTENCING MEMORANDUM                                                         PAGE 1
          Case 3:14-cr-00282-SI           Document 79        Filed 11/04/15       Page 2 of 30




3-level decrease applies for acceptance of responsibility. See id. at § 3E1.1(b). Thus, the advisory

guideline range is level 17, which prescribes an advisory sentence of 24 to 30 months.

C.      DEPARTURES AND CRIMINAL HISTORY CALCULATION

        Based on Mr. Ho’ acceptance of responsibility, there is no dispute that Mr. Ho qualifies

for a 3-level reduction for Acceptance of Responsibility, resulting in an adjusted offense level of

17 from 20. See id. Further, in light of Mr. Ho’s waiver of motions, additional discovery,

acceptance of responsibility for the full scope for the fraud, and his cooperation in the

investigation, the government is recommending a 4-level downward variance. This variance

places Mr. Ho at level 13, which prescribes an advisory sentence of 12 to 18 months. Nor is there

any dispute that Mr. Ho has a criminal history category I, as he has no prior criminal history.

D.      RECOMMENDED SENTENCE

        The Probation Department is seeking imposition of a sentence of one year and one day in

prison, followed by 3 years of supervised release. The government has agreed not to seek a prison

sentence any higher than the low-end of the applicable guideline range, and will recommend a

sentence of one year and one day in prison. The plea agreement, and the law, do not require the

Court to impose such a severe sentence. Further, there is no mandatory minimum sentence

applicable to this case. The defense urges the Court to impose a lesser sentence, based on the

following considerations.

E.      SENTENCING CONSIDERATIONS

        Before going into the specific reasons calling for imposition of a sentence below the

advisory Sentencing Guidelines range, it is important to make some general observations. The

advisory Sentencing Guidelines are ab initio the product not solely of careful analysis and

consideration of empirical data, but they are also the consequence of political guessing. The


DEFENDANT’S SENTENCING MEMORANDUM                                                           PAGE 2
            Case 3:14-cr-00282-SI         Document 79         Filed 11/04/15       Page 3 of 30




crude methodology used to create the sentencing guidelines was one of simple arithmetic

averaging and addition; the Sentencing Commission simply took the average national sentences

for a given offense, and then increased the incarceration term, without explanation, much less

scientific studies. See U.S. v. Jaber, 362 F. Supp. 2d 365 (D. Mass. 2005).

        This methodology is painfully deficient as an intellectual exercise, and has the effect of

compressing the varied actions of individuals and their attendant circumstances. In other words,

the effect of averaging raises the floor for those whose criminality is relatively minimal and

reduces the ceiling for those whose criminality is relatively greater. Combine this averaging with

the wide variance associated with certain types of offenses, e.g. quantity defined drug offenses,

and you have a further disassociation of considerations of the offender and the punishment

imposed.

        Mr. Ho is 37 years of age. Under the recommendations of the Probation Department and

the government, Mr. Ho will be 38 years old when released. The outlook for a 38 year-old felon,

just released from prison, poses an interesting dichotomy– because of his age, he is less likely to

re-offend, as recidivism rates decline relatively consistently as age increases1 (good), but his

incarceration severely damages his prospects for social re-integration (bad)2. Most male inmates

do not leave prison transformed into law-abiding citizens, but rather, the very skills an inmate




        1
         UNITED STATES SENTENCING COM M ISSION, MEASURING RECIDIVISM : THE CRIM INAL
HISTORY COM PUTATION OF THE FEDERAL SENTENCING GUIDELINES, at 12, 28 (2004),
http://www.ussc.gov/Research/Research_Publications/Recidivism/200405_Recidivism_Criminal_Hist
ory.pdf.
        2
         Testimony of Pat Nolan, Vice President of Prison Fellowship to The Joint Economic
Committee of the U.S. Congress “Mass Incarceration in the United States: At What Cost?” October
4, 2007.

DEFENDANT’S SENTENCING MEMORANDUM                                                            PAGE 3
          Case 3:14-cr-00282-SI           Document 79        Filed 11/04/15       Page 4 of 30




develops to survive inside prison make him anti-social when released. An unintended

consequence of incarceration to be sure, but not easily ignored.

        Perhaps, given the unscientific nature of the formulation of the Sentencing Guidelines,

the physician’s credo primum non nocere (“Above all, do no harm”), may offer some

perspective. This simple phrase reminds the physician that s/he must consider the possible harm

that any intervention might do. It is invoked when debating the use of an intervention that carries

an obvious risk of harm but a less certain chance of benefit. Historically, this phrase has been for

physicians a hallowed expression of hope, intention, humility, and recognition that human acts

with good intentions may have unwanted consequences.

F.      GROUNDS FOR ADDITIONAL DOWNWARD ADJUSTMENT OF SENTENCE

        Pursuant to 18 U.S.C. § 3553(a), the Court is required to “impose a sentence sufficient,

but not greater than necessary,” to advance the sentencing policies and objectives which are

provided by law. The sentencing criteria include the need to reflect the seriousness of the offense,

to promote respect for the law, to provide for just punishment, to afford adequate deterrence to

criminal conduct, to protect the public from further crimes of the defendant, and to provide the

defendant with needed educational or vocational training, medical care, or other correctional

treatment in the most effective manner.

        The plea agreement authorizes Mr. Ho to request additional downward adjustments of his

sentence, beyond those to which the government has stipulated and the Probation Department has

recommended. We urge the Court to adjust the sentence downward based on a combination of

factors, including the sentencing policies which are established in 18 U.S.C. § 3553(a).




DEFENDANT’S SENTENCING MEMORANDUM                                                           PAGE 4
          Case 3:14-cr-00282-SI          Document 79        Filed 11/04/15       Page 5 of 30




        1. The Advisory Guideline is too Harsh, Excessive, or is “Greater than Necessary,”
        and the Purpose of Sentencing is Satisfied by a Sentence Below the Guidelines

        Too many people go to too many prisons for far too long for no good law
        enforcement reason. It is time to ask ourselves some fundamental questions about
        our criminal justice system. Statutes passed by legislatures that mandate
        sentences, irrespective of the unique facts of an individual case, too often bear no
        relation to the conduct at issue, breed disrespect for the system, and are ultimately
        counterproductive. It is time to examine our systems and determine what truly
        works.


Eric Holder, U.S. Att’y Gen, Address at the 15th Annual National Action Network Convention

(Apr. 04, 2013), available at

http://www.justice.gov/iso/opa/ag/speeches/2013/ag-speech-130404.html.

        United States Supreme Court Justice Anthony Kennedy has stated on several occasions

that the guidelines are too harsh, sentences too long, the guidelines should be revised downward,

and the fact that there is a lobby for higher penalties is “sick”. See Anthony Kennedy, U.S.

Supreme Court J., Judicial Security and Independence, C-SPAN (Feb. 14, 2007),

http://www.c-spanvideo.org/program/196657-1; Anthony Kennedy, U.S. Supreme Court J.,

Address at the Ninth Circuit Judicial Conference (July 09, 2006), available at

http://www.talkleft.com/story/2006/07/11/842/04331/inmatesandprisons/Justice-Kennedy-Calls-

Efforts-to-Increase-Sentences-Sick-; Anthony Kennedy, U.S. Supreme Court J., Address at the

ABA Annual Conference (Aug. 09, 2003), available at

http://www.abanow.org/2003/08/speech-by-justice-anthony-kennedy-at-aba-annual-meeting/; see

also Kimbrough v. U.S., 552 U.S. 85, 111 (2007) (district court’s below guideline sentence in

drug case not unreasonable because “it appropriately framed its final determination in line with

§3553(a)’s overarching instruction to ‘impose a sentence sufficient, but not greater than

necessary to accomplish the goals” of sentencing.);

DEFENDANT’S SENTENCING MEMORANDUM                                                           PAGE 5
          Case 3:14-cr-00282-SI          Document 79         Filed 11/04/15      Page 6 of 30




U.S. v. Germosen, 473 F. Supp. 2d 221, 227 n.11 (D.Mass. 2007) (“While before the Guidelines

nearly 50% of federal defendants were sentenced to probation, see Bureau of Justice Statistics

Sourcebook 1994, table 5.27, USSC Annual Report, table B-7 (providing rates of imprisonment

from 1984-1989), afterwards it was only 15%. U.S.S.C.1996 Sourcebook of Federal Sentencing

Statistics, 20.”)); see also Timothy Williams, Police Leaders Join Call to Cut Prison Rosters,

N.Y. TIM ES, Oct. 20, 2015,

http://www.nytimes.com/2015/10/21/us/police-leaders-join-call-to-cut-prison-rosters.html?emc=

edit_th_20151021&nl=todaysheadlines&nlid=26951077&_r=1 (More than 130 law enforcement

officials, including top police chiefs and district attorneys, have formed a group called Law

Enforcement Leaders to Reduce Crime and Incarceration to call upon Congress and State and

local governments to implement programs and laws to reduce the massive amount of persons

incarcerated throughout the United States. The group’s aim is to use programs, rather than

incarceration, to handle offenses involving minor drug possession, theft, and other low-level

offenses where treatment and/or crisis management benefits the community more than jail and

prison sentences.).

        The advisory guideline in this case calls for a sentence of between 12 and 18 months in

prison. The government and the Probation Department are recommending a sentence of one year

and one day. As such, pursuant to the guidelines and the recommendations, Mr. Ho is at risk of

going to prison. The defense submits that any amount of prison time is overly harsh, excessive,

and “greater than necessary” to achieve the purposes of sentencing.

        Imprisonment would not reasonably accomplish any of the legitimate sentencing

objectives, as Mr. Ho does not present a risk of engaging in similar conduct in the future, he is


DEFENDANT’S SENTENCING MEMORANDUM                                                          PAGE 6
          Case 3:14-cr-00282-SI            Document 79         Filed 11/04/15       Page 7 of 30




not a danger to society, he appropriately understands the nature of his misdeeds, he has fulfilled

his money judgment, and he has already engaged in substantial community service work to try to

make up for what he has done. Imprisonment would only accomplish an objective of retributive

punishment. Further, there are alternative sanctions which would equally punish Mr. Ho. Thus, a

departure is warranted.

        2. This is Mr. Ho’s First Conviction and He is Unlikely to Reoffend

        A downward-departure or variance from the applicable sentencing guideline is

appropriate when the defendant has no criminal history whatsoever. See U.S. v. Paul, 561 F.3d

970, 973 (9th Cir. 2009); U.S. v. Autery, 555 F.3d 864, 874 (9th Cir. 2009); U.S. v. Huckins, 529

F.3d 1312, 1319-1320 (10th Cir. 2008); see U.S. v. Tomko, 562 F.3d 558, 571-72 (3d Cir. 2009)

(where defendant was convicted of tax evasion of $225,000 and guidelines were 12 to 18

months, court’s sentence to probation on condition of one year home detention and fine of

$250,000 not unreasonable in part because of the defendant’s minimal criminal record.). The

likelihood that the defendant will engage in future criminal conduct is a central factor that district

courts must assess when imposing a sentence. Pepper v. U.S., 131 S. Ct. 1229, 1242 (2011). In

addition, a defendant’s age and reduced risk of recidivism are grounds for low-end and below

guideline sentences. See U.S. v. Smith, 275 F.App’x 184, 186 (4th Cir. 2008) (in child

pornography case where guideline sentence was between 78 and 97 months, downward departure

to 24 months warranted due to the defendant’s advanced age, having avoided violations of law

until 64 years of age, and the absence of any risk of recidivism).

        As stated above, and confirmed by the Probation Department, Mr. Ho has no criminal

history points. As the instant matter is Mr. Ho’ first conviction, the fact that Mr. Ho is a first-time


DEFENDANT’S SENTENCING MEMORANDUM                                                             PAGE 7
          Case 3:14-cr-00282-SI          Document 79        Filed 11/04/15       Page 8 of 30




offender who is 37 years old makes the prospect of re-offending slim. The statistics and relevant

data demonstrate that a person who is unfamiliar with the criminal justice system, and who has

zero criminal history points, even as opposed to one criminal history point, poses the least

amount of risk of recidivism. See U.S. SENTENCING COM M ’N, RECIDIVISM AND THE “FIRST

OFFENDER” 17 (2004).

        Further, although Mr. Ho is by no-means of advanced age or elderly, the fact that he is

nearing 40 years of age makes him less likely to reoffend. Mr. Ho is towards the outside of the

“prime” years for committing criminal offenses. The statistics show that a defendant in their 20s

and 30s is more likely to reoffend than a defendant in their 40s, 50s, and beyond. UNITED STATES

SENTENCING COM M ’N, MEASURING RECIDIVISM : THE CRIM INAL HISTORY COM PUTATION OF THE

FEDERAL SENTENCING GUIDELINES, at 12, 28 (2004),

http://www.ussc.gov/Research/Research_Publications/Recidivism/200405_Recidivism_Criminal

_History.pdf. Moreover, Mr. Ho is a new father, is on track to be married to his long-time fiancé,

and has stable employment. All of these factors militate towards a minimal risk of re-offending.

        Given the extremely minimal risk that Mr. Ho will ever reoffend, a departure from the

applicable guideline range and from the recommendations of the government and Probation

Department is warranted.

        3. Incarceration is Not Necessary to Protect the Public, and Probation with
        Conditions is Sufficient Punishment

        Where a defendant is very unlikely to reoffend, poses no danger to the public, and a

probation sentence is sufficient to deter, a departure from prison to probation may be appropriate.

See U.S. v. Hein 463 F. Supp. 2d 940, 943 (E.D. Wis. 2006) (where defendant convicted of being



DEFENDANT’S SENTENCING MEMORANDUM                                                         PAGE 8
           Case 3:14-cr-00282-SI           Document 79          Filed 11/04/15       Page 9 of 30




felon in possession of ammunition, the guideline term of 12 to 18 months was “greater than

necessary to satisfy the purposes of sentencing” in part because “given his minimal prior record

and law-abiding life for the past ten years, coupled with his diminished physical capacity, [the

court] found that defendant was very unlikely to re-offend and posed no danger to the public.

Therefore, prison was not necessary.”); U.S. v. Edwards, 595 F.3d 1004, 1016, 1016 n.9 (9th Cir.

2010) (where defendant convicted of bankruptcy fraud and on probation for prior state conviction

for fraud and where guidelines range 27-33 months, sentence of probation seven months of

which was to be served under house arrest, and $5,000 fine, and restitution of $100,000 not abuse

of discretion in part because “Section 3553(a), for instance, does not require the goal of general

deterrence be met through a period of incarceration,” and citing legislative history: “It may very

often be that release on probation under conditions designed to fit the particular situation will

adequately satisfy any appropriate deterrent or punitive purpose. S. Rep. No. 98-225, at 92.");

U.S. v. Baker, 502 F.3d 465, 468 (6th Cir. 2007) (in possession of unregistered firearm case

where firearm accidentally discharged and guidelines range of 27 to 33 months, a below-

guideline sentence of probation with one year of house arrest reasonable in part because

incarceration was not necessary to protect the public).

        Probation and the conditions that come with probation are onerous in their own right.

Such has been recognized by the United States Supreme Court. See Gall v. U.S., 552 U.S. 38, 48

(2007) (a sentence of probation is “a substantial restriction of freedom....[and

although]...custodial sentences are qualitatively more severe than probationary sentences of

equivalent terms[,] [o]ffenders on probation are nonetheless subject to several standard

conditions that substantially restrict their liberty.... Probationers may not leave the judicial


DEFENDANT’S SENTENCING MEMORANDUM                                                              PAGE 9
          Case 3:14-cr-00282-SI           Document 79         Filed 11/04/15       Page 10 of 30




district, move, or change jobs without notifying, and in some cases receiving permission from,

their probation officer or the court. They must report regularly to their probation officer, permit

unannounced visits to their homes, refrain from associating with any person convicted of a

felony, and refrain from excessive drinking.... Most probationers are also subject to individual

‘special conditions’ imposed by the court.”).

        Probation sentences can come with periods of home confinement, community service,

fines, and warnings to keep out of trouble, all of which have been done when a prison sentence

was prescribed by the guidelines. See U.S. v. Munoz-Nava, 524 F.3d 1137, 1149 (10th Cir. 2008)

(in drug case where guidelines 47 to 56 months, district court’s sentence of one year and a day in

prison and one year home detention reasonable in part because “home confinement and

supervised release substantially restrict the liberty of a defendant.”); see generally, U.S.v.

Prosperi, No. 10-1739, 2012 WL 2866243 (1st Cir. July 13, 2012) (Defendants' sentences of six

months of home monitoring, three years of probation, and 1,000 hours of community service for

mail fraud was substantively reasonable, even though they were an 87-month variance from the

bottom of the applicable guidelines range); Tomko, 562 F.3d at 571 (district court did not abuse

its discretion in sentencing defendant to probation with a year of home detention, community

service, restitution, and fine for tax evasion, rather than to term of imprisonment where

guidelines range of 12 to 18 months); Autery, 555 F.3d at 876 (where defendant convicted of

possession of child pornography and where guidelines 41 to 51 months, court’s sua sponte

variance to probation not unreasonable in part because in light of district court’s stern warning of

maximum sentence to follow any violation, it was “improbable that the district court’s stern

warning will be an ineffective deterrent in this case.”).


DEFENDANT’S SENTENCING MEMORANDUM                                                                PAGE 10
          Case 3:14-cr-00282-SI          Document 79         Filed 11/04/15       Page 11 of 30




        Mr. Ho has never been in trouble with the law, and will very likely never be in trouble

ever again. However, as a result of this prosecution, Mr. Ho will be a felon for the rest of his life,

which by itself has lasting consequences. See U.S. v. Smith, 683 F.2d 1236, 1240 n.13 (9th Cir.

1982) (“The stigma of a felony conviction is permanent and pervasive.”). A probationary

sentence adequately promotes respect for the law, and is an onerous punishment. As is evident

from the above caselaw, if sentenced to probation, Mr. Ho’s freedom, even though not confined

by prison walls, will be significantly restricted. Mr. Ho will be subject to supervision and

restrictions to ensure that he does not reoffend during his probationary period. During the time

prior to being charged in this matter, as well as his time being supervised by Pretrial Release

Services, which has lasted approximately 20 months combined, Mr. Ho has had no issues

complying with the conditions placed on him or otherwise staying out of trouble, he has passed

all random urinalyses, and has been overwhelmingly compliant. There can be little doubt that the

cooperation and compliance that Mr. Ho has exhibited during the 20 months since this case

began will continue during any term of probation or supervision imposed. See U.S. v. Johnson,

588 F. Supp. 2d 997, 1004 (S.D. Iowa 2008) (in child pornography case where there was a three-

year delay between the seizure of defendant’s computer and the indictment, and guideline range

of 121 to 151 months, sentence of 84 months imposed in part due to the defendant’s good

behavior during the lengthy delay between seizure and indictment).

        Further, as conditions of probation, there are alternatives to incarceration that would be

equally punitive and onerous, such as home confinement. Sentencing Mr. Ho to house arrest in

lieu of prison would allow him to help in the rearing and care for his infant daughter. House

arrest would also allow Mr. Ho to continue working, which is a circumstance that is favored by


DEFENDANT’S SENTENCING MEMORANDUM                                                              PAGE 11
          Case 3:14-cr-00282-SI             Document 79      Filed 11/04/15       Page 12 of 30




Probation Officers around the country. House arrest is an onerous punishment in its own right as

it is a substantial restriction on one’s freedom. See U.S. v. Bueno, 549 F.3d 1176, 1182 (8th Cir.

2008) (affirming downward-departure sentence of five years probation with house arrest from

108-135 months, based in part on defendant’s role as the primary caregiver of his infirm wife,

and the fact that defendant would be subject to house arrest for the entire probationary period);

see also U.S. v. Coughlin, 2008 WL 313099, at *5 (W.D. Ark. Feb. 1, 2008) (in embezzlement

and tax evasion case with guideline sentence of 33 to 41 months, sentence of probation with 27

months home confinement imposed due to the severity and retributive nature of the punishment).

        In addition, there are provisions in the sentencing guidelines that substitute prison time

for community or home confinement. See U.S. SENTENCING GUIDELINES MANUAL § 5C1.1

(d)(2). Mr. Ho falls under Zone C of the sentencing guidelines with a criminal history category I

and crime seriousness level 13, prescribing an advisory sentence of 12 to 18 months in prison.

Under §5C1.1(d)(2), if Mr. Ho were to serve a guideline sentence, once Mr. Ho has served half

of his sentence in prison, he would be eligible for community or home confinement for the

remainder of the incarceration part of his sentence. Although the defense is advocating for a

sentence that is less than what is being recommended by the government and Probation

Department, specifically a sentence of probation and no prison time, if Mr. Ho is given a

sentence of one year and one day in prison, or another sentence that places Mr. Ho in Zone C of

the guidelines, the defense urges that Mr. Ho should receive a period of home confinement once

half of the sentence is served in prison.

        Therefore, a departure from the guidelines and the recommendations is warranted, as

probation with conditions is an appropriate and just punishment, and home confinement is a


DEFENDANT’S SENTENCING MEMORANDUM                                                            PAGE 12
          Case 3:14-cr-00282-SI           Document 79            Filed 11/04/15   Page 13 of 30




viable and sufficiently punitive alternative to incarceration.

        4. The Loss Guideline Places Inordinate Emphasis on the Amount of Loss

        The loss guideline places a heavy emphasis on the amount of loss without explaining why

it is appropriate to accord such weight to loss as opposed to other factors. Given this

circumstance, courts have found occasion to depart downward based on the guidelines’

extraordinary emphasis on loss. See U.S. v. Adelson, 441 F. Supp. 2d 506, 507, 509 (S.D. N.Y.

2006) (in securities fraud case, where government advocated for guideline level 55, which was

effectively a sentence of 85 years to life, court’s sentence of 42 months imposed due in part to the

inordinate emphasis the guidelines place on loss); see also U.S. v. Emmenegger, 329 F. Supp. 2d

416, 427-28 (S.D. N.Y. 2004) (The specific amount of loss is often “a kind of accident” and thus

“a relatively weak indicator of the moral seriousness of the offense or the need for deterrence.”

Most defendants do not set out to defraud a specific amount of money; rather, the amount of loss

is dependent on the security procedures in place and the point in time when the ongoing fraud

happens to be detected. “Had [the defendant] been caught sooner, he would have stolen less

money; had he not been caught until later, he would surely have stolen more.”).

        In the present case, Mr. Ho’s advisory guideline begins at level 6, and is adjusted upward

by 14 levels due to the amount of loss being greater than $550,000 but less than $1,500,000. The

upward adjustment for loss is more than double the base offense-level. As indicated above, one

of the reasons that loss is a poor indicator of “moral seriousness” is because if Mr. Ho had been

caught after a single transaction, or after 500 transactions, the loss would be less or greater,

respectively. Had Mr. Ho been caught before any moneys had been gained, or small amounts had

been gained, then his guideline level would likely place him in Zone A, calling for a straight


DEFENDANT’S SENTENCING MEMORANDUM                                                           PAGE 13
         Case 3:14-cr-00282-SI           Document 79        Filed 11/04/15       Page 14 of 30




probationary sentence. However, because the fraud continued for some time, more money was

gained, thus causing the offense-level to drastically increase. Therefore, from the guidelines

perspective, the amount of loss is the morality indicator, thus punishing people more severely

depending on how much was taken.

        It is not unreasonable to suggest that other factors weigh more heavily on the “moral

seriousness” of a theft offense, such as who the victim was and their degree of vulnerability,

whether there were multiple victims, how long the offense went on, whether any force or

coercion was used in the taking, etc. While some of those factors are taken into account via the

guidelines, amount of loss by far carries the greatest upward departure in offense-level. For

instance, a theft offense involving more than 25 victims will increase the base offense-level by 6

levels, whereas an offense involving between $40,000 to $95,000 will earn the same 6-level

increase. See U.S. SENTENCING GUIDELINES MANUAL §§ 2B1.1(b)(1)(D), (2)(C). Thus, under the

guidelines, the amount of loss is more important than the number of victims, even for a relatively

small-scale fraud.

        Moreover, in Mr. Ho’s situation, it is clear that, having voluntarily made financial

remittances to the government and Nike which exceed the amount of the underlying profit, the

use of the applicable loss calculation vastly exceeds Mr. Ho’s moral culpability. Specifically, Mr.

Ho has pleaded guilty to fraudulent theft of approximately $680,000, which was the total amount

procured between Mr. Ho and co-defendant Kyle Yamaguchi. Of that amount, Mr. Ho’s share

was around 80 percent, which comes out to approximately $522,000. Mr. Ho, through his efforts

in paying his money judgment to the government, the amount remitted to Nike, and the moneys

and assets that were seized by law enforcement, Mr. Ho has paid in excess of the $522,000


DEFENDANT’S SENTENCING MEMORANDUM                                                              PAGE 14
          Case 3:14-cr-00282-SI           Document 79         Filed 11/04/15       Page 15 of 30




amount that was his share of the profits.

        Mr. Ho has forfeited to the government $206,801, $27,750, and a Mercedes worth

upwards of $150,000. He has paid the government $50,000 for his money judgment. He has also

paid the victim, Nike, $111,333 of his own money and $203,881 from proceeds of the sale of his

home in Portland. Overall, these payments and/or forfeitures come to almost $750,000, which far

exceeds the amount of loss in this case, whether it be Mr. Ho’s share or the total amount which

includes the profits of co-defendant Yamaguchi.

        Given that the amount of loss does not reflect the “moral seriousness” of the offense,

particularly in a case such as this where the loss has been offset, and the fact that loss is over-

emphasized in the guidelines, a downward departure from the guidelines and recommendations is

warranted.

        5. Mr. Ho’s Valuable Cooperation should be Considered

        Where a defendant aids the authorities in understanding how the crime was committed

and accomplished, a departure may be warranted to reflect the defendant’s cooperation. See U.S.

v. Ruff, 535 F.3d 999, 1001 (9th Cir. 2008) (In embezzlement case where guidelines called for

30 to 37 months, sentence of one day in jail and one year and one day in community treatment

center not unreasonable in part due to the defendant’s willingness to admit his guilt and

cooperate with federal agents as to how crime was accomplished.).

        In the present case, Mr. Ho has fully cooperated with the authorities as to how the

conspiracy worked. He explained his relationship with co-defendant Kyle Yamaguchi, and what

steps were taken to hide the transactions within the company, how the payouts worked, and

everything else about this conspiracy to which Mr. Ho has knowledge. Mr. Ho did not shy away


DEFENDANT’S SENTENCING MEMORANDUM                                                             PAGE 15
          Case 3:14-cr-00282-SI           Document 79         Filed 11/04/15        Page 16 of 30




from the investigators’ questions, and he answered all questions as openly and honestly as he

could. Mr. Ho also testified before the Grand Jury, admitting his own guilt and that of the co-

defendants. Further, at all times, Mr. Ho has remained ready, willing, and able to aid Nike, the

victim, in pursuing its civil litigation against Mr. Keating and preventing a fraud like this from

happening ever again.

        Given Mr. Ho’s willingness to come clean about the offense and to help the authorities

and Nike, a departure from the guidelines and recommendations is warranted.

        6. Mr. Ho has Manifested “Super” Acceptance of Responsibility, has shown
        Extreme Remorse, and has made Post-Offense Restitution

        Where early efforts are made at addressing the wrongs committed by the defendant,

particularly in repaying unjust gains, a downward departure may be warranted to give credit for

extraordinary acceptance of responsibility, beyond that which is taken into account by the

guidelines. See U.S. v. Gardellini, 545 F.3d 1089, 1090, 1095 (D.C. Cir. 2008) (where defendant

convicted of filing false income tax return, and guidelines 10 to 16 months, district court properly

imposed sentence of probation in part because defendant “cooperated with authorities and

accepted responsibility…to an extraordinary degree.”); U.S. v. Kim, 364 F.3d 1235, 1244-45

(11th Cir. 2004) ($280,000 restitution by defendants, a husband and wife, after they pled guilty to

conspiracy to defraud the United States and fraudulently obtaining government assistance,

respectively, was extraordinary enough to remove case from heartland and justify downward

departure from 24 months to probation and home detention where defendants dipped

significantly into their life savings and voluntarily undertook enormous amount of debt to pay

restitution; the defendants' conduct demonstrated their sincere remorse and acceptance of



DEFENDANT’S SENTENCING MEMORANDUM                                                              PAGE 16
          Case 3:14-cr-00282-SI           Document 79         Filed 11/04/15       Page 17 of 30




responsibility); U.S. v. Milne, 384 F. Supp. 2d 1309 (E.D. Wis.2005) (in bank fraud case,

advisory guidelines range of 18 to 24 months after adjustment for acceptance and offense level

did not fully account for defendant's voluntary reporting of his misconduct to bank and his

significant early efforts to repay bank). Further, a District Court failing to take a defendant’s

positive actions and remorse into account in imposing a sentence has been grounds for remand on

appeal. See U.S. v. Paul, 561 F.3d 970, 973 (9th Cir. 2009) (where defendant convicted of

embezzlement and guidelines were 10 to 16 months, court’s within guideline sentence of 15

months was unreasonably high in part because of defendant’s showing of remorse).

        In addition, where the defendant makes post-offense restitution, a departure from the

guidelines is warranted in exceptional circumstances. See U.S. v. Oligmueller, 198 F.3d 669,

670-72 (8th Cir. 1999) (affirming downward departure in fraud case based on guidelines section

5K2.0 due to the extraordinary efforts made at restitution, which included repaying defrauded

bank by preparing assets to obtain the highest return for bank, getting a new job, giving the bank

half of the defendant’s social security check each month, and giving up his home and living with

family members).

        In the present case, Mr. Ho has indeed made extraordinary efforts at restitution that

manifest a “super” acceptance of responsibility, such that his case should be viewed outside of

the heartland of cases, and a departure should be given for all the financial burdens Mr. Ho has

undertaken to make more than full restitution to Nike.

        Mr. Ho has paid Nike a total of $315,214.19 in restitution. $111,333.16 was from Mr.

Ho’s bank account, and the remaining $203,881.03 was from the proceeds from selling Mr. Ho

and his fiance’s home in Portland. In addition, Mr. Ho consented to the forfeiture of his


DEFENDANT’S SENTENCING MEMORANDUM                                                             PAGE 17
            Case 3:14-cr-00282-SI          Document 79          Filed 11/04/15        Page 18 of 30




Mercedes, worth upwards of $150,000, as well as the cash seized from his home by law

enforcement, which totaled more than $225,000. Moreover, as part of the plea agreement in this

case, Mr. Ho was subject to a $50,000 money judgment to the government, which has been paid

in full.

           There can be no doubt that Mr. Ho has made extraordinary efforts to not only divest

himself of his ill-gotten gains, but he has also made good on his financial obligations, and is

making headway on his tax obligations, to be more fully explained below in section 7. Mr. Ho’s

home in Portland has been sold, as well as his condo in Hillsboro, he has moved in with his

fiance’s parents in San Francisco, California, has fulfilled the money judgment to the

government, and has made full restitution to Nike, over and above what was financially lost to

Nike as a result of Mr. Ho’s conduct. Mr. Ho and his family have taken on these severe financial

burdens not only to demonstrate Mr. Ho’s acceptance of responsibility, but also because Mr. Ho

is genuinely remorseful for what he has done. Mr. Ho has not only disgorged himself of all of his

ill-gotten gains, but he has also divested himself of virtually all of his and his family’s assets,

even those that were purchased prior to the conduct involved in this case, which includes the

Portland-area residences.

           As such, due to the extraordinary efforts made by Mr. Ho to make restitution and

manifest a “super” acceptance of responsibility, a departure beyond the recommendations of the

government and the Probation Department is warranted.

           7. Mr. Ho’s Steps to Reconcile his Tax Liabilities should be Considered

           Guidelines section 5K2.0(a)(1) permits this Court to depart from the applicable guideline

range if the Court finds that there is a mitigating circumstance of a kind not adequately taken into


DEFENDANT’S SENTENCING MEMORANDUM                                                                PAGE 18
         Case 3:14-cr-00282-SI           Document 79         Filed 11/04/15       Page 19 of 30




consideration by the Sentencing Commission in formulating the guidelines, and such

circumstance should result in a sentence different than prescribed. In Mr. Ho’s case, such a

circumstance is the steps taken by Mr. Ho to reconcile his taxes related to his ill-gotten gains.

        As a result of Mr. Ho’s conduct in this case, Mr. Ho accrued hundreds of thousands of

dollars which was not reported to the IRS. However, since October of 2014, Mr. Ho has made

great progress to settle-up with the IRS, and create a plan to pay off his tax liabilities. Mr. Ho has

worked with a forensic accountant and a CPA firm to help establish what exactly he owes,

prepare the necessary documents, file them with the IRS, and then work with the IRS to pay back

what is owed.

        Mr. Ho amended his 2012 tax return to include $94,160 in ill-gotten gains. His 2013

return was filed, which included $452,660 of illegal income. As a result, Mr. Ho owes the IRS

the sum of $226,141, and owes the State of Oregon an additional $67,404. It is noteworthy that

all of the money and assets seized by the government, which includes over $225,000 in cash as

well as a Mercedes worth more than $150,000, cannot be used to offset Mr. Ho’s tax liabilities.

Despite these circumstances, and the long-term financial hardships that will ensue, Mr. Ho

voluntarily filed the amended returns as prepared by his accounting team, and has been making

payments to begin to pay off what is owed. It is also worth noting that, since the beginning of this

case, Mr. Ho has been keenly interested and concerned about his tax liabilities, and has never

showed an unwillingness to begin the process of reconciling his taxes with the government.

        Therefore, because Mr. Ho has been proactive in handling issues related to his taxes, and

is actively taking steps to pay off the balance, that is a circumstances which should be taken into

consideration in imposing a sentence in this case. Mr. Ho “gets it.” From the very beginning, Mr.


DEFENDANT’S SENTENCING MEMORANDUM                                                           PAGE 19
         Case 3:14-cr-00282-SI           Document 79        Filed 11/04/15       Page 20 of 30




Ho has known that he would not only face possible prison time, but also very real and crippling

financial penalties as a result of his conduct. Mr. Ho has never shied away from his financial

obligations, and in fact, has always been keenly interested in making things right. Reconciling his

taxes is only one of many circumstances that shows Mr. Ho’s remorse and acceptance of

responsibility; but it is an important circumstance, and one that Mr. Ho will face far longer than

any prison sentence, whether that be within or below the guidelines range.

        Further, it should be noted that Tiffany Couch, the forensic accountant who has worked

with Mr. Ho to determine his tax-liabilities, was very complimentary of Mr. Ho and his

willingness to not only accept responsibility, but also to be forthcoming with information and

active in resolving these issues. Ms. Couch states:

        I do want to remark on my experience with Mr. Ho. I have been a forensic
        accountant, and involved in civil and criminal cases for more than 10 years;
        dealing with both victims and defendants. I have interviewed dozens of alleged
        white-collar criminals. I can attest to the fact that I have never had an experience
        with any of these defendants that is like the one I’ve had with Mr. Ho. He has
        shown true remorse, he has urged us to file his tax returns, knowing the personal
        and long-term ramifications of doing so, and shown a willingness to be engaged in
        the process. He has not once indicated that his current situation is anyone else’s
        fault but his own. Very few of my interactions with white-collar criminals comes
        close to the interactions I’ve had with Mr. Ho.

        As such, a departure is warranted under section 5K2.0 to adequately take into account Mr.

Ho’s tax liabilities and the actions he has taken to settle-up and begin to pay off what is owed to

the government.

        8. Mr. Ho’s Community Service and Charitable Good Deeds Should be Considered

        A defendant’s exceptional community service work and charitable good deeds have been

grounds for a downward departure from the guidelines. See Tomko, 562 F.3d at 572-75 (in tax



DEFENDANT’S SENTENCING MEMORANDUM                                                           PAGE 20
           Case 3:14-cr-00282-SI          Document 79         Filed 11/04/15       Page 21 of 30




evasion case where guidelines range was 12 to 18 months, court’s sentence to probation with one

year of home detention was not unreasonable in part due to the defendant’s charitable activities

and good deeds); U.S. v Thurston, 544 F.3d 22, 26 (1st Cir. 2008) (where defendant convicted of

medicare fraud of over five million dollars and guidelines capped at 60 months, district court’s

sentence of 3-months affirmed where district judge cited, among other things, the defendant’s

charitable good works, generosity with his time, and assistance to others).

        Since April of 2015, Mr. Ho has been extensively engaged in community service and

charitable work. Mr. Ho has provided his services to two entities in the San Francisco area; his

church (Christ for all Nations), and the Sunset Neighborhood Beacon Center (SNBC).

        For his church, Mr. Ho works every Saturday with their Food Pantry program, organizing

and providing food to more than 550 needy families in the area. Mr. Ho also helps as a translator

in the church community, particularly for elderly patrons who only speak Spanish or Chinese.

Mr. Ho has also donated his time to help patrons with home repairs. As of the writing of this

memorandum, Mr. Ho has volunteered more than 75 hours of his time to the church and its

patrons.

        For SNBC, Mr. Ho has volunteered his time for their summer and after-school programs.

Mr. Ho works with SNBC every Wednesday and Friday. Mr. Ho has been instrumental in a

number of ways; from helping move equipment from SNBC’s office to the school, to creating

and implementing ideas and activities for the programs, to actively working with the more than

250 youth students who attend the programs. Mr. Ho has taken the children on field trips to

museums, conducted other educational activities, and spoken to the kids about making the right

and healthy choices for their future and lives. In addition, due to short staffing and limited


DEFENDANT’S SENTENCING MEMORANDUM                                                                PAGE 21
         Case 3:14-cr-00282-SI           Document 79        Filed 11/04/15       Page 22 of 30




resources, Mr. Ho has helped SNBC with data entry, translation and cleaning when needed, and

has also helped to organize and participate in SNBC’s Food Pantry program to provide food to

the needy in the community. To date, Mr. Ho has given over 225 hours of his time to SNBC and

its programs.

        Since April of 2015, Mr. Ho has undertaken extensive and exhaustive efforts to benefit

those in his community. He has completed more than 300 hours of community service to date,

with two separate entities, all the while working and supporting his fiancé and infant child. The

efforts of Mr. Ho are extraordinary, and are only expected to continue. Given these

circumstances, a downward departure is warranted to reflect the vast community service work

and charitable good deeds in which Mr. Ho has been so actively engaged.

        9. Mr. Ho is a Law-Abiding Citizen who did a “Dumb Thing,” used Bad
        Judgment, and Mr. Ho’s Motive should be Considered

        Where a defendant is an otherwise law-abiding citizen who did a dumb thing and used

bad judgment, leniency and/or a departure may be warranted. See U.S. v. Hadash, 408 F.3d 1080,

1084 (8th Cir. 2005) (where defendant pled guilty to possession of stolen firearms, and

guidelines 12 to 18 months, district court reasonably departed downward by six levels because

the district court said the defendant was simply "a law abiding citizen, who [did] an incredibly

dumb thing" and said that the defendant “was not the type of defendant the guidelines section

was designed to punish.”) (alteration in original); U.S. v. Kathman, 490 F.3d 520, 526 (6th Cir.

2007) (downward departure in involuntary manslaughter case appropriate in part because the

defendant was an otherwise law-abiding citizen who made a bad mistake and used poor

judgment); U.S. v. Howe, 543 F.3d 128, 133 (3d Cir. 2008) (downward departure in mail fraud



DEFENDANT’S SENTENCING MEMORANDUM                                                          PAGE 22
            Case 3:14-cr-00282-SI        Document 79        Filed 11/04/15       Page 23 of 30




case with loss of $150,000 not unreasonable given that the crime was an isolated mistake in the

context of the defendant’s entire life). The defendant’s motive in committing the criminal offense

is also an important factor in determining a sentence, and can be grounds for a downward

departure. See Wisconsin v. Mitchell, 508 U.S. 476, 485 (1993).

        Other than the instant offense, Mr. Ho has lived a law-abiding life. Indeed, one member

of the law-enforcement team involved in this case told us he does not consider Mr. Ho to be a

bad person, but rather a good person who did some bad things. Mr. Ho has no criminal history,

not a single criminal history point via the guidelines, and has conducted himself appropriately for

decades into his adult life. Mr. Ho’s conduct in this case constituted a gross deviation in

behavior; not to be repeated. Mr. Ho is 37 years old, and has lived conviction-free until this

incident.

        Further, Mr. Ho holds no ill-will against Nike and did not engage in the instant scheme

because he was unhappy with his job or wished to harm anyone. In fact, Mr. Ho was very happy

with his job. Truthfully, there really is no good answer to the question of “why?” The instant

offense was more opportunistic than greed or for recognition, and Mr. Ho acknowledges that he

ruined his dream job for no good reason. Mr. Ho has struggled to understand his own conduct;

without doubt, he has learned a very important lesson from all this.

        In regards to Mr. Ho’s motives, it also bears mention that Mr. Ho underwent a

psychological evaluation with Dr. Linda Grounds, in order to assess why this all happened. Dr.

Grounds reported the following as her opinion as to why Mr. Ho engaged in these unlawful

behaviors:

        Given Mr. Ho’s immersion in and devotion to both the sneakerhead culture and


DEFENDANT’S SENTENCING MEMORANDUM                                                             PAGE 23
         Case 3:14-cr-00282-SI            Document 79    Filed 11/04/15      Page 24 of 30




        the Nike brand it is, on the surface, both hard to understand his criminal conduct
        in the instant offense and easy to assume that his behavior was simply motivated
        by financial gain. However, and counter-intuitively, it is my opinion that, while
        his conduct certainly resulted in substantial financial gain for Mr. Ho, this was
        actually not a significant motivation for him. With respect to the behavior
        resulting in the current charges, it is my opinion that Mr. Ho’s decisions and
        behavior in this matter are directly related to his very early (i.e., childhood and
        adolescent) fascination and subsequent immersion in the sneakerhead
        culture....[As to Mr. Ho starting the unlawful activity,] at some point he
        persuaded himself that providing what was at that time just one pair of sneakers
        from his own collection would bring pleasure to another sneakerhead and he
        obtained significant gratification from providing other sneakerheads with the
        highly coveted commodity of Nike sneakers.

In her conclusions, Dr. Grounds states:

        Mr. Ho very clearly now understands the thinking errors that went into his
        decision-making and conduct and feels deep humiliation, shame, and remorse for
        his behavior.


        Mr. Ho’s judgment and behavior in this instant offense are in [sic] not typical for
        him. Mr. Ho appears to value and respect rules generally and to be motivated to
        follow rules and engage in proper behavior....He appears to be very motivated to
        take steps to take responsibility for his behavior, re-establish a prosocial personal
        and professional life and give back to the community in some way in an effort to
        make amends for previous mistakes. It is also my opinion that Mr. Ho would do
        well on supervised release into the community (as he has during his period of
        pretrial release) and that he represents a very low risk of recidivism.

        In addition, Mr. Ho’s otherwise good character should be considered in determining

whether a prison sentence is appropriate in this case. Along with this memorandum are four

character letters which demonstrate that Mr. Ho used poor judgment in committing the fraud, but

is an otherwise good person.

        Raimol Cortado is the Enrichment Coordinator with SNBC, and he is aware of the instant

predicament Mr. Ho finds himself in. Mr. Cortado notes that Mr. Ho has been very generous with

his time to SNBC, and has been a role-model to many of the youths overseen by SNBC and its


DEFENDANT’S SENTENCING MEMORANDUM                                                      PAGE 24
          Case 3:14-cr-00282-SI          Document 79         Filed 11/04/15      Page 25 of 30




programs. Mr. Cortado writes that Mr. Ho has emphasized to the children the messages of

working hard, giving respect, and making healthy choices in life. Mr. Ho is described as a

“people’s person,” and has made himself available whenever called upon by SNBC staff. Mr

Ho’s expertise and insight on business practices have inspired Mr. Cortado regarding his own

business practices. Mr. Cortado writes that Mr. Ho is a genuinely good person who is apologetic

for his previous actions. Mr. Cortado states that “[s]omebody like him would have a bigger and

positive impact on society if he were given another chance as seen in our After School Program

and Summer Camp.” Mr. Ho is a welcomed volunteer who SNBC would “love” to have continue

in his volunteer work.

        Tiffany Yee is Mr. Ho’s “de facto” sister-in-law, and has known Mr. Ho for more than 10

years. She notes that upon this legal situation coming to light, Mr. Ho immediately accepted

responsibility for his actions and has been working hard to make amends for what happened. Ms.

Yee writes that Mr. Ho has engaged in volunteering, works for apparel company American Giant,

and has been an instrumental and beneficial figure in the lives of the whole family, but

particularly his infant daughter.

        The Reverend Terrence Chan is a Pastor with the Christ for All Nations Lutheran Church

in San Francisco, to which Mr. Ho is an attendee. Reverend Chan writes that Mr. Ho has shared

with him the past transgressions against Nike, and the regret and sincere remorse which Mr. Ho

has expressed. Mr. Ho fully acknowledges that he not only hurt Nike, but also himself and his

family. However, Mr. Ho has used this incident as an opportunity to better himself, his family,

and his community by helping out with various community service activities through the church,

as well as providing a good example for the youth who participate. Reverend Chan concludes


DEFENDANT’S SENTENCING MEMORANDUM                                                          PAGE 25
          Case 3:14-cr-00282-SI           Document 79         Filed 11/04/15       Page 26 of 30




that Mr Ho “has tremendous potential to be a positive mentor for young people. I believe Mr. Ho

is now a blessing to his community and family. I believe Mr. Ho has embraced this life changing

experience and desires the outcome to have a positive effect on others.”

        Bayard Winthrop is the CEO of American Giant, Mr. Ho’s current employer. Mr.

Winthrop has taken Mr. Ho on as an employee in spite of the instant charges and the punishment

which Mr. Ho faces. Mr. Winthrop notes that after a full discussion with Mr. Ho about his legal

situation, Mr. Ho was hired due to his acceptance of responsibility, remorse, and commitment to

moving forward. Mr. Ho expressed that his actions were his fault alone and no one else’s, that he

had a deep sense of guilt, but that this incident will not define Mr. Ho moving forward. Mr.

Winthrop writes that Mr. Ho has exceeded his expectations, and the broader team at American

Giant has overcome the initial concerns about having Mr. Ho on board, and views him as a

member of the team as well. Mr. Winthrop expresses that “[i]t would be a blow to lose him both

professionally and personally.”

        Mr. Ho understands and admits that he made a bad mistake and used very poor judgment

in committing the instant offense. As a former employee with Nike, Mr. Ho knows that doing

anything to detract from the brand is an incredibly “dumb thing,” and will not go unnoticed. He

knows that, and readily admits his bad conduct. However, given that this is Mr. Ho’s first

conviction, and a conviction that will follow him for the rest of his life, and the conduct at issue

is not who Mr. Ho truly is or who he wants to be, as amply demonstrated through the submitted

character letters, a sentence less than what is being recommended by the government and

Probation Department is warranted.




DEFENDANT’S SENTENCING MEMORANDUM                                                             PAGE 26
         Case 3:14-cr-00282-SI           Document 79         Filed 11/04/15       Page 27 of 30




        10. Probation Office Recommends a Below-Guideline Sentence

        Where the Probation Department recommends a sentence below the applicable guidelines

range, a departure is warranted to reflect such recommendation. See U.S. v. Willis, 479 F. Supp.

2d 927, 937 (E.D. Wisc. 2007) (where guidelines range 120 months, and 60-month statutory

maximum, downward departure to one year and one day in prison reasonable in part because

sentence consistent with the recommendation of the probation officer, whose view of the offense

and the offender were taken into account); Hein, 463 F. Supp. 2d at 943 (in felon in possession of

ammunition case, and guidelines 12 to 18 months, a sentence of probation was appropriate in

part due to the recommendation of the probation officer, especially since a probation

recommendation in the post-Booker era is “quite rare.”).

        The Probation Department is recommending a sentence of 12 months and one day in

prison. That is a 4-level variance from the applicable sentencing guideline. U.S. Probation

Officer Adam Jacobson provided a detailed explanation for the variance in the pre-sentence

report. Probation Officer Jacobson took into account the seriousness of the offense, but also

acknowledged Mr. Ho’s limited criminal history, his positive action taken prior to sentencing, as

well as his history of stable employment.

        Although the defense agrees with the Probation Department that a sentence below the

guidelines is totally appropriate, the defense disagrees that any prison-time is necessary or proper

in this case. This is so primarily for all the reasons explained in the pre-sentence report which,

according to Probation Officer Jacobson, warrant a below-guidelines sentence of 12 months and

one day in prison. The fact that Mr. Ho has no criminal history, has fully accepted responsibility

and cooperated with the government and Nike, has made pre-sentence restitution, and has a


DEFENDANT’S SENTENCING MEMORANDUM                                                            PAGE 27
         Case 3:14-cr-00282-SI           Document 79        Filed 11/04/15       Page 28 of 30




history of stable employment and positive contributions to the community, all weigh in favor of a

sentence even below that which is recommended by the Probation Department. Mr. Ho has

shown that he is capable of behaving appropriately and will be compliant with any conditions

placed upon him while on supervision post-sentencing. The question is, is prison necessary for

Mr. Ho to get the message? The answer is no. There are constraints and consequences that can be

meted out by a probationary sentence that are onerous enough to promote respect for the law and

to adequately punish Mr. Ho for his conduct. Any prison time would not serve any legitimate

purpose other than retributive punishment, which is not necessary in this case, given all the

positive steps taken by Mr. Ho since the instant offense occurred.

        Therefore, given that the Probation Department is recommending a below-guideline

sentence, and since Mr. Ho can be counted on to follow the rules, a sentence below that

recommended by the government and Probation Department is warranted.

        In addition, the defense objects to special condition #4 of the Pre-Sentence Report, to the

extent of Mr. Ho not being permitted to have contact with former Nike employees. This

provision encompasses Denise Yee, Mr. Ho’s fiancé and mother of his child. Ms. Yee is a former

Nike employee, and while Ms. Yee is not part of the instant litigation, she was a defendant in

Nike’s civil suit. Ms. Yee has fully settled-up with Nike, and divested herself of assets that were

purchased even prior to her employment with Nike in order to come to a settlement. Mr. Ho and

Ms. Yee have been in a committed relationship for 11 years, and have co-habitated since 2007.

They are engaged to be married, have a child together, and Mr. Ho and Ms. Yee currently live

with Ms. Yee’s parents in San Francisco. As such, if Mr. Ho were not permitted to have contact

with Ms. Yee, as a former employee of Nike, Mr. Ho would essentially become homeless and be


DEFENDANT’S SENTENCING MEMORANDUM                                                          PAGE 28
          Case 3:14-cr-00282-SI              Document 79     Filed 11/04/15       Page 29 of 30




removed from his family.

        To the extent that special condition #4 extends to former Nike employees, the defense

registers its objection to that condition.

        11. Mercy

        Mr. Ho seeks the mercy of this Court. American sentences have been characterized as

particularly long, harsh, and lack an individualistic character to them; causing courts to treat

offenders as less than human beings. These were the sentiments of United States Supreme Court

Justice Anthony Kennedy in 2007, when he expressed these feelings to the United States Senate

Judiciary Committee. See also JAM ES Q. WHITM AN, HARSH JUSTICE 19, 223 n.72 (2003)

(“American punishment is comparatively harsh, comparatively degrading, comparatively slow to

show mercy,” “the makers of sentencing guidelines succeeded only in contributing to the making

of a law of punishment that shows obstinately little concern for the personhood of offenders...a

law that tends to treat offenders as something closer to animals than humans, and that has

correspondingly sought, more and more frequently, simply to lock them away.”).

        Yes Mr. Ho made some big errors, and he took shoes from Nike and sold them for profit.

This was admittedly a very stupid move and one that Mr. Ho will regret for the rest of his life.

However, given Mr. Ho’s lack of criminalistic attitude, his prior good record, his age, and his

new familial situation, the statistics show that Mr. Ho is very unlikely to reoffend. Further, given

the fact that the Probation Department is recommending a below-guideline sentence, Mr. Ho

seeks the mercy of this Court to sentence him appropriately, given all the facts and

circumstances.




DEFENDANT’S SENTENCING MEMORANDUM                                                            PAGE 29
          Case 3:14-cr-00282-SI           Document 79         Filed 11/04/15       Page 30 of 30




G.      CONCLUSION

        Mr. Ho committed a big error against one of the most powerful companies in the world.

Mr. Ho not only tarnished the Nike brand, but he has tarnished himself forever. He has taken

extraordinary steps to address his underlying conduct, to make good on his current and future

obligations, and to better his community. Mr. Ho has no criminal history and lacks a criminalistic

attitude. For many reasons, a sentence less than what is recommended by the government and the

probation department is appropriate and proper in this case.

        When one considers the policies enacted as part of 18 U.S.C. § 3553(a), there are more

than ample grounds to impose a sentence of probation. Such is consistent with §3553(a), Mr.

Ho’s individual characteristics, his needs to continue to care for his fiancé and infant child, to

continue his employment, to enable Mr. Ho to pay back his tax liabilities, all among a myriad of

other reasons, and such a sentence promotes respect for the law. A probationary sentence

adequately achieves the purposes of sentencing. Therefore, we respectfully request that the Court

impose a sentence below that which is recommended by the government and Probation

Department.

        DATED:           Portland, Oregon
                         November 04, 2015

        s/d Mark C. Cogan
        MARK C. COGAN, OSB# 92016




DEFENDANT’S SENTENCING MEMORANDUM                                                             PAGE 30
